    Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.1 Page 1 of 16




                     UNITED STATES DISTRICT COURT

           FOR THE WESTERN DISTRICT OF MICHIGAN
__________________________________________

JOHN HEYKOOP D/B/A EAGLE TOWING,

        Plaintiff,

v
                                                       Case No. ____-cv-_______
MICHIGAN STATE POLICE, and CAPT. DAVID
ROESLER, COMMANDER, DISTRICT 6,                        Hon. _____________
MICHIGAN STATE POLICE; FIRST                           Mag. _____________
LIEUTENANT JEFFREY WHITE; FIRST
LIEUTENANT CHRIS MCINTIRE.

       Defendants.
__________________________________________/
John S. Brennan (P55431)
Christopher S. Patterson (74350)
FAHEY SCHULTZ BURZYCH RHODES PLC
Co-Counsel for Defendant
4151 Okemos Road
Okemos, Michigan 48864
Tel: (517) 381-0100
Fax: (517) 381-5051
jbrennan@fsbrlaw.com
cpatterson@fsbrlaw.com
__________________________________________/

                      COMPLAINT AND JURY DEMAND

       Plaintiff, John Heykoop, doing business as Eagle Towing. (“Heykoop” or

“Plaintiff”), through his attorneys Fahey Schultz Burzych Rhodes PLC as and for its

complaint against Defendants Michigan State Police (“MSP”) and Capt. David
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.2 Page 2 of 16




Roesler (“Roesler”), First Lieutenant Jefferey White (“White”) and First Lieutenant

Chris McIntire (“McIntire”) (collectively “Defendants”), states as follows:

                           JURISDICTION AND VENUE

   1. This Court has original jurisdiction over this case pursuant to 28 U.S.C. §

1331, as it arises under the Constitution and laws of the United States.

   2. This Court has supplemental jurisdiction over Count V of this Complaint

under 28 U.S.C. § 1367.

   3. Venue is proper in this judicial district under 28 U.S.C. § 1391, as the

Defendants reside within this judicial district and a substantial portion of the events

giving rise to Plaintiff’s claims occurred within this judicial district.

                         PARTIES AND COMMON FACTS

   4. Plaintiff operates a towing business under the name of “Eagle Towing.”

Plaintiff has been in the business as a vehicular towing, storing and recovery

company for 73 years.

   5. Defendant MSP is an agency of the State of Michigan.

   6. Defendant Roesler is a captain and the commander of District 6 - West, which

includes Michigan State Police Posts located in Rockford, MI and Hart, MI.

   7. Defendant White is a first lieutenant and commander of the Hart #66 Michigan

State Police Post.




                                            2
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.3 Page 3 of 16




   8. Defendant McIntire is a first lieutenant and commander of the Rockford #61

Michigan State Police Post.

   9. The Hart and Rockford MSP Posts maintain what is commonly called a No-

Preference Wrecker Rotation List, (“No-Pref List”) which is a list of towing

companies that MSP officers use to call for wrecker services in situations where the

driver or owner of a vehicle in need of such services does not or cannot express a

preference for a particular towing company.          Examples include stranded or

abandoned vehicles on the public highways, accident situations, or vehicles that are

illegally parked or located on public or private property.

   10. MSP Posts are governed by a Department Policy known as Official Order

No. 48, which concerns towing, reporting, inspection and state-wide wrecker policy.

A true and correct copy of this Official Order is attached to this Complaint as Exhibit

A. This policy governs placement on the No-Pref List.

   11. Until November 13, 2017, Plaintiff was placed on the No-Pref List and

provided services in response to calls without incident.

   12. In June 2015 it came to Plaintiff’s attention that fees collected for salvage

title inspections were being mishandled by Robert Wilson, then the Chief of Police

for the Village of Shelby in Oceana County. Wilson was a close friend of Oceana

Sheriff, Craig Mast.




                                          3
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.4 Page 4 of 16




   13. Plaintiff reported information regarding Wilson’s conduct to several

authorities, including the Oceana Prosecuting Attorney. Wilson was convicted and

sentenced in June 2017.

   14. Following the report of Wilson’s criminal conduct, the State Attorney

General commenced an investigation of salvage title inspection fees statewide.

Several MSP officers have either been charged or convicted of the same conduct.

   15. On or about November 9, 2017, Sheriff Mast removed Plaintiff from its

wrecker rotation. On the same day he sent an email to Defendant White advising

him to do the same. The removal was allegedly based on one complaint from a

vehicle owner over Plaintiff’s customary charges, which had been properly

submitted to and paid without objection by the owner’s automobile insurance carrier.

   16. On or about November 13, 2017, Defendant White sent a letter to Plaintiff

informing Plaintiff that the Hart Post was removing Plaintiff from its No-Pref List.

This letter did not refer to or mention any violation of Official Order 48, but rather

stated the reason for removal as “the quality and type of service” provided by

Plaintiff within the Post area. No other specifics were provided, nor was Plaintiff

ever given an opportunity to respond to any concerns regarding the same. A copy

of this letter is attached as Exhibit B.

   17. Subsequent to Defendant White’s letter, Defendant McIntire also removed

Plaintiff from the No-Pref List, for the Rockford Post, also without cause.



                                           4
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.5 Page 5 of 16




   18. Two weeks before Plaintiff’s removal from the No-Pref List, Plaintiff was

requested by name to a stand-off scene with over 75 troopers that had vehicles stuck

2 miles into the woods in sand. The incident commander requested Plaintiff to

remove them as Plaintiff was the only towing company in the area that had this

capability in-house. MSP was not charged for those services, and Plaintiff never

recouped its costs from anyone for this work that took 8 hours x 4 staff members in

order to accommodate MSP’s needs.

   19. The stated reason in Sheriff Mast’s and Defendant White’s letters for

Plaintiff’s removal is a pretext; the true reason for the removal is retaliation for

Plaintiff’s having reported law enforcement, and Sheriff Mast’s personal friend, in

particular, for improper handling of salvage title inspection fees.

   20. Following its removal from the MSP No-Pref List (Rockford and Hart Posts)

Plaintiff attempted to obtain an application under Official Order 48 to be placed on

the list. Plaintiff sent both Defendant McIntire and Defendant White certified mail

with a request for an application. Plaintiff’s letter to McIntire was refused on both

March 5, 2018 and March 10, 2018, and then returned to Plaintiff. Plaintiff’s

certified letter to Defendant Roesler was also refused on March 5, 2018 and returned

to Plaintiff. Copies of the returned correspondence is attached as Exhibit C.

   21. Subsequently, Plaintiff obtained an application through its attorney and

submitted it by email to all Defendants on or about March 28, 2018. Plaintiff met



                                          5
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.6 Page 6 of 16




all the requirements of Official Order No. 48; however, no response was ever

received. A copy of this email with attachments is attached as Exhibit D.

   22. Upon information and belief, other towing companies within the Rockford

and Hart Posts enjoy placement on the No-Pref List, and receive service calls as

result of such placement, yet they do not meet the requirements of Official Order

No. 48.

   23. On April 26, 2018, Plaintiff, through its attorney, sent a letter to Defendant

Roesler and MSP (sent to its Director, Col. Kriste Kibbey Etue and copied to Steven

Beatty, In-house Counsel), requesting that action be taken on Plaintiff’s application.

No action has been taken in response to this letter. A copy of this letter is attached

as Exhibit E.

   24. Plaintiff has a contractual agreement with Electric Forest, LLC to provide

towing services on private property during the music festival known as “Electric

Forest” to be held June 28 – July 1, 2018. This agreement is attached as Exhibit F.

   25. Upon information and belief, Defendant White stated during a 911 Dispatch

Committee Meeting that he will refuse to permit Plaintiff to render wrecker services

pursuant to its contract at the Electric Forest Music Festival this year.

   COUNT I -- VIOLATION OF EQUAL PROTECTION ((42 U.S.C § 1983)

   26. Plaintiff incorporates all prior paragraphs.




                                           6
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.7 Page 7 of 16




   27. The Fourteenth Amendment to the United States Constitution, enforceable

pursuant to 42 U.S.C. § 1983, provides that “[n]o State shall make or enforce any

law which shall abridge the privileges or immunities of citizens of the United States

. . . nor deny to any person within its jurisdiction the equal protection of the laws.”

U.S. Const. amend. XIV, § 1.

   28. Defendant’s conduct violates Plaintiff’s right to equal protection of the laws;

specifically, Plaintiff’s right not to be treated arbitrarily or based upon animus by

Defendants.

   29. Defendants have intentionally treated Plaintiff differently from others

similarly situated, and there is no rational basis for the difference in treatment.

   30. Other towing companies and businesses within the Rockford and Hart Posts

have not been subjected to this discriminatory and unequal treatment.

   31. The unequal treatment of Plaintiff was the result of intentional and purposeful

discrimination against Plaintiff.

   32. As a direct and proximate result of the above, Plaintiff has suffered damages

and irreparable harm, and continues to suffer damages on a daily basis, consisting of

loss of business and revenue, injured reputation in the community, and the threat of

losing the benefits of a valid contractual relationship.




                                           7
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.8 Page 8 of 16




   33. Pursuant to 42 U.S.C. § 1988, Plaintiff requests an award of reasonable

attorney’s fees as part of the costs associated with the enforcement of a provision of

§ 1983.

   WHEREFORE, Plaintiff, respectfully requests this Honorable Court enter a Final

Judgment against Defendants:

          a. Awarding compensatory damages in excess of $100,000, prejudgment

      interest, attorney’s fees, and costs;

          b. Entering an injunction, preliminarily and permanently enjoining

      Defendants from violating Plaintiff’s rights under the U.S. and Michigan

      Constitutions, from enforcing any policies found to violate Plaintiff’s

      constitutional rights, ordering Defendants to place Plaintiff back on the No-

      Pref List and treating Plaintiff similarly to other towing companies with regard

      to service calls;

          c. Awarding such other and further relief in law or equity as this Court

      may deem just and proper.

COUNT II – FIRST AMENDMENT RETALIATION CLAIM (42 U.S.C § 1983)

   34. Plaintiff incorporates all prior paragraphs.




                                              8
  Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.9 Page 9 of 16




   35. Petitioning the government is protected activity under the First Amendment,

and is a clearly established constitution right under both the United States and

Michigan Constitutions.

   36. The Defendants removed Plaintiff from the No-Pref List in cooperation with

the Oceana County Sheriff and in retaliation for Plaintiff’s reporting law

enforcement of suspected wrongful activity in processing salvage title inspection

fees.

   37. Plaintiff’s action in reporting the wrongful conduct was protected activity.

   38. Since Defendants’ wrongful removal of Plaintiff from the No-Pref List,

Defendants have engaged in other retaliatory acts, including:

           a. Refusing/rejecting certified letters sent by Plaintiff that requested forms

        for being restored to the No-Pref List;

           b. Refusing to process Plaintiff’s duly presented application to be placed

        on the No-Pref List;

           c. Refusing to respond to Plaintiff’s letter demanding to be placed on the

        No-Pref List;

           d. Declaring an intention to interfere with Plaintiff’s contractual

        relationship regarding a private property towing agreement.




                                            9
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.10 Page 10 of 16




   39. A reasonable person in Defendants’ positions would have understood that the

actions taken by Defendants described herein were retaliatory and violated

Plaintiff’s rights.

   40. Defendants operated under color of law in retaliating against Plaintiff.

   41. The action taken against Plaintiff would deter a person of ordinary firmness

from continuing to engage in conduct asserting their First Amendment rights.

   42. Plaintiff’s protected activity motivated Defendants’ actions described herein.

   43. The actions taken by Defendants were authorized by Defendant MSP acting

under color of law, and policy-making officials, or persons acting through delegated

authority and under color of law, including Defendants White, McIntire and Roesler,

made the decisions to retaliate against Plaintiff.

   44. As a direct and proximate result of the above, Plaintiff has suffered damages

and irreparable harm, and continues to suffer damages on a daily basis, consisting of

loss of business and revenue, injured reputation in the community, and the threat of

losing the benefits of a valid contractual relationship.

   45. Pursuant to 42 U.S.C. § 1988, Plaintiff requests an award of reasonable

attorney’s fees as part of the costs associated with the enforcement of a provision of

§ 1983.

   WHEREFORE, Plaintiff, respectfully requests this Honorable Court enter a Final

Judgment against Defendants:


                                          10
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.11 Page 11 of 16




         a. Awarding compensatory damages in excess of $100,000, prejudgment

      interest, attorney’s fees, and costs;

         b. Entering an injunction, preliminarily and permanently enjoining

      Defendants from violating Plaintiff’s rights under the U.S. and Michigan

      Constitutions, from enforcing any policies found to violate Plaintiff’s

      constitutional rights, ordering Defendants to place Plaintiff back on the No-

      Pref List and treating Plaintiff similarly to other towing companies with regard

      to service calls;

         c. Awarding such other and further relief in law or equity as this Court

      may deem just and proper.

        COUNT III – PROCEDURAL DUE PROCESS (42 U.S.C § 1983)

   46. Plaintiff incorporates all prior paragraphs.

   47. 42 U.S.C. § 1983 provides in pertinent part:

      Every person who, under color of any statute, ordinance, regulation,
      custom, or usage, of any State or Territory . . . subjects, or causes to be
      subjected, any citizen of the United States or other person within the
      jurisdiction thereof to the deprivation of any rights, privileges, or
      immunities secured by the Constitution and laws, shall be liable to the
      party injured in an action at law, suit in equity, or other proper
      proceeding for redress . . .
   48. Plaintiff has a protected property interest in its placement on the No-Pref List

pursuant to MSP policy as set out in Official Order 48.




                                          11
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.12 Page 12 of 16




   49. Plaintiff was entitled to rudimentary due process before it could be removed

from the No-Pref List.

   50. Rudimentary due process has four requirements:

          a. The government must provide a timely written notice that details

      the reasons for the proposed action;

          b. An effective opportunity to defend by confronting adverse

      witnesses and being allowed to present witnesses, evidence, and

      arguments;

          c. A hearing examiner other than the person(s)/body that made the

      decision or determination under review; and,

          d. A written statement of findings.

   51. Defendants did not provide Plaintiff with timely written notice that detailed

the reasons for their action against Plaintiff.

   52. Defendants did not provide Plaintiff with an opportunity to defend by

confronting adverse witnesses and being allowed to present its own witnesses,

evidence and arguments.

   53. Defendants did not provide for a hearing examiner to review the decision that

affected Plaintiff.

   54. Defendants failed to provide Plaintiff a written statement of any findings.




                                           12
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.13 Page 13 of 16




   55. The actions taken by Defendants were authorized by Defendant MSP acting

under color of law, and policy-making officials, or persons acting through delegated

authority and under color of law, including Defendants White, McIntire and Roesler,

made the decisions to retaliate against Plaintiff.

   56. Defendants’ conduct deprived Plaintiff of its Due Process under the law.

   57. As a direct and proximate result of the above, Plaintiff has suffered damages

and irreparable harm, and continues to suffer damages on a daily basis, consisting of

loss of business and revenue, injured reputation in the community, and the threat of

losing the benefits of a valid contractual relationship.

   58. Pursuant to 42 U.S.C. § 1988, Plaintiff requests an award of reasonable

attorney’s fees as part of the costs associated with the enforcement of a provision of

§ 1983.

   WHEREFORE, Plaintiff, respectfully requests this Honorable Court enter a Final

Judgment against Defendants:

          a. Awarding compensatory damages in excess of $100,000, prejudgment

      interest, attorney’s fees, and costs;

          b. Entering an injunction, preliminarily and permanently enjoining

      Defendants from violating Plaintiff’s rights under the U.S. and Michigan

      Constitutions, from enforcing any policies found to violate Plaintiff’s

      constitutional rights, ordering Defendants to place Plaintiff back on the No-

                                          13
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.14 Page 14 of 16




      Pref List and treating Plaintiff similarly to other towing companies with regard

      to service calls;

          c. Awarding such other and further relief in law or equity as this Court

      may deem just and proper.

   COUNT IV – CONSPIRACY TO VIOLATE CONSTITUTIONAL RIGHTS
                        (42 U.S.C § 1983)
   59. Plaintiff incorporates all preceding paragraphs.

   60. Defendants, acting under color of law, conspired to deprive Plaintiff of

federally protected rights, including the right to petition the government under the

First Amendment.

   61. The conspiracy involved state action.

   62. The object of the conspiracy was to silence, harm, punish, intimidate, and

scare Plaintiff, among other objects.

   63. Plaintiff was deprived of its civil rights in furtherance of the conspiracy.

   64. As a direct and proximate result of the above, Plaintiff has suffered damages

and irreparable harm, and continues to suffer damages on a daily basis, consisting of

loss of business and revenue, injured reputation in the community, and the threat of

losing the benefits of a valid contractual relationship.

   65. Pursuant to 42 U.S.C. § 1988, Plaintiff requests an award of reasonable

attorney’s fees as part of the costs associated with the enforcement of a provision of

§ 1983.

                                          14
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.15 Page 15 of 16




   WHEREFORE, Plaintiff, respectfully requests this Honorable Court enter a Final

Judgment against Defendants:

          a. Awarding compensatory damages in excess of $100,000, prejudgment

       interest, attorney’s fees, and costs;

          b. Entering an injunction, preliminarily and permanently enjoining

       Defendants from violating Plaintiff’s rights under the U.S. and Michigan

       Constitutions, from enforcing any policies found to violate Plaintiff’s

       constitutional rights, ordering Defendants to place Plaintiff back on the No-

       Pref List and treating Plaintiff similarly to other towing companies with regard

       to service calls;

          c. Awarding such other and further relief in law or equity as this Court

       may deem just and proper.

         COUNT V – TORTIOUS INTERFERENCE WITH A BUSINESS
                  EXPECTANCY AND RELATIONSHIP
                             (Defendants MSP and White)
   66. Plaintiff incorporates all preceding paragraphs.

   67. Defendants MSP and White knew of Plaintiff’s contract with Electric Forest

LLC.

   68. Defendants MSP and White intentionally and improperly interfered with

Plaintiff’s expectancy and contractual relationship by declaring at an open meeting

that the State Police would not honor Plaintiff’s contract to provide towing services


                                           15
 Case 1:18-cv-00632-RJJ-PJG ECF No. 1 filed 06/05/18 PageID.16 Page 16 of 16




on private property and would not permit Plaintiff to provide such services where

MSP personnel were involved.

   69. Defendants committed a per se wrongful act, with malice and without

justification for the purpose of invading Plaintiff’s business relationship.

   70. Unless enjoined by this Court, Defendants actions will result in a breach,

disruption, or termination of Plaintiff’s contractual relationship or expectancy,

damaging Plaintiff’s business reputation and causing irreparable harm.

   WHEREFORE, Plaintiff requests that this Court enter an injunction against

Defendants MSP, White and White’s supervisor, Defendant Roesler, restraining

them from interfering with Plaintiff’s contractual relationship with Electric Forest

LLC, and honoring Plaintiff’s exclusive right to provide towing services on the

private property described in Plaintiff’s contract.

   Plaintiff hereby demands trial by jury.


                                 Respectfully submitted,

                                 FAHEY SCHULTZ BURZYCH RHODES PLC
                                 Counsel for Plaintiff

Dated: June 5, 2018              By: __/s/John S. Brennan_______________
                                       John S. Brennan (P55431)
                                       4151 Okemos Road
                                       Okemos, Michigan 48864
                                       (517) 381-0100
                                       jbrennan@fsbrlaw.com



                                          16
